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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
RIVERKEEPER, INC.; CONNECTICUT                            :
FUND FOR THE ENVIRONMENT, d/b/a                           :
SAVE THE SOUND; NATURAL                                   :
RESOURCES DEFENSE COUNCIL, INC.; :                             17-CV-4916 (VSB)
WATERKEEPER ALLIANCE, INC.;                               :
RARITAN BAYKEEPER, INC., d/b/a                            :         ORDER
NY/NJ BAYKEEPER; BRONX COUNCIL :
FOR ENVIRONMENTAL QUALITY;                                :
NEWTOWN CREEK ALLIANCE;                                   :
JAMAICA BAY ECOWATCHERS;                                  :
HUDSON RIVER WATERTRAIL                                   :
ASSOCIATION,                                              :
                                                          :
                                         Plaintiffs, :
                                                          :
                      -against-                           :
                                                          :
ANDREW WHEELER, Administrator of the :
United States Environmental Protection                    :
Agency; PETER D. LOPEZ, Regional                          :
Administrator, Environmental Protection                   :
Agency, Region 2; and THE UNITED                          :
STATES ENVIRONMENTAL                                      :
PROTECTION AGENCY,                                        :
                                                          :
                                          Defendants. :
                                                          :
THE CITY OF NEW YORK, and THE NEW :
YORK STATE DEPARTMENT OF                                  :
ENVIRONMENTAL CONSERVATION,                               :
                                                          :
                                         Intervenor :
                                         Defendants. :
                                                          :
                                                          :
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VERNON S. BRODERICK, United States District Judge:

        I am in receipt of Intervenor-Defendant New York State Department of Conservation’s

motion for leave to amend answer to its crossclaim. (Doc. 173.) Pursuant to the Local Rules, it
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is hereby:

       ORDERED that any opposition to this motion shall be submitted on or before January 19,

2021. Any reply memorandum of law shall be submitted on or before January 26, 2021.

SO ORDERED.

Dated: January 11, 2021
       New York, New York

                                                ______________________
                                                Vernon S. Broderick
                                                United States District Judge




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